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 7                           UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     UNITED STATES OF AMERICA,                            NO. CR05-452-RSM
10
                                   Plaintiff,
11

12          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
13   TRACY D. McWILLIAMS,                                 TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
14                                 Defendant.
15
            An initial hearing on a Supplemental Violation and Request for Warrant was held
16
     before the undersigned Magistrate Judge on April 6, 2010. The United States was represented
17
     by Assistant United States Attorneys Andrew Friedman and the defendant by Stewart Riley.
18
            The defendant had been charged and convicted of Conspiracy, in violation of 18 U.S.C.
19
     § 371 and Bank Fraud, in violation of 18 U.S.C. § 1344. On or about September 15, 2006,
20
     defendant was sentenced by the Honorable Ricardo S. Martinez, to a term of twenty-one
21
     months in custody, to be followed by five years of supervised release.
22
            The conditions of supervised release included the requirements that the defendant
23
     comply with all local, state, and federal laws, and with the standard conditions. Special
24
     conditions imposed included, but were not limited to, participation in substance abuse and
25

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1   mental health programs, financial disclosure, $55,006.21 restitution, search, business

 2   disclosure, no new credit, and no other identification.

 3          In a Supplemental Violation and Request for Warrant, dated March 29, 2010, U.S.

 4   Probation Officer Donald E. Moon asserted the following violations by defendant of the

 5   conditions of her supervised release:

 6             (6)    Using cocaine and marijuana on or about March 4, 2010, in violation of

 7                    standard condition number 7.

 8             (7)    Using marijuana on or about March 11, and March 18, 2010, in violation of

 9                    standard condition number 7.

10             (8)    Failing to submit to mandatory drug testing on March 22, 2010, in violation of

11                    a general condition.

12          The defendant was advised of her rights, acknowledged those rights, and admitted to

13   alleged violations 6, 7 and 8.

14          I therefore recommend that the Court find the defendant to have violated the terms and

15   conditions of her supervised release as to violations 6, 7 and 8 and that the Court conduct a

16   hearing limited to disposition. A disposition hearing on these violations has been set before the

17   Honorable Ricardo S. Martinez on May 7, 2010 at 10:30 a.m.

18          Pending a final determination by the Court, the defendant has been detained.

19          DATED this 6th day of April, 2010.

20

21
                                                   AJAMES P. DONOHUE
22                                                  United States Magistrate Judge

23
     cc:    District Judge:                  Honorable Ricardo S. Martinez
24
            AUSA:                            Andrew Friedman
25          Defendant’s attorney:            Stewart Riley
            Probation officer:               Donald E. Moon
26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
